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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

JERRY L. BILLINGSLEY,

 

Plaintiff,

VS. No. 02-29ZOBV
SHELBY COUNTY,

OFFICER JOHN FORD, and
OFFICER JON KIRKLAND,

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Defendants.

 

ORDER GRANTING IN PART AND DENYING IN PART
PLAINTIFF'S REQUEST FOR SUBPOENAS FILED APRIL 29, 2005

 

On April 29, 2005, the plaintiff, Jerry L. Billingsley,
proceeding pro se, filed a request seeking to have the court issue
subpoenas for thirty-two witnesses to appear at trial, which is
scheduled for Monday, June 6, 2005, and give testimony. The
request was referred to the United States Magistrate Judge for
determination. A hearing was held in open court on Friday, May 20,
2005. Present at the hearing were Jerry Billingsley; Deadrick
Brittenum, attorney for Officer Ford and Shelby County; and Deborah
Godwin and Elizabeth McKinney, attorneys for Officer Kirkland. For

the reasons that follow, the request is granted in part and denied

in part.

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I. Shelby Countv Witnesses

Billingsley seeks subpoenas for thirteen witnesses employed.by
or associated with Shelby County. It is not necessary to issue a
subpoena for Deputy Jailer Jon Ford because he is a defendant and
will be present, and therefore Billingsley's request for a subpoena
is denied as to Ford. Counsel for Shelby County objects to the
issuance of subpoenas for Steve Shular, assistant to the Sheriff,
and for Shelby County Sheriff Mark Luttrell on the grounds that
neither of these persons has any first-hand knowledge of
information relating to the remaining claims in this lawsuit, and
any testimony that they would provide would be hearsay.
Billingsley insists that both these witnesses can provide relevant
testimony on the failure of the County to properly investigate his
complaints. It does not appear that the failure of the County to
investigate is still a viable claims Accordingly, the testimony of
Shular and Luttrell would not be relevant, and Billingsley's
request for subpoenas for Shular and Luttrell is denied.

Billingsley also seeks to subpoena attorney Robert Hutton and
Special Master Charles Fisher. Attorney Hutton represents plaintiff
Darius Little in another lawsuit, Darius Little v. Dowd, et al, No.
96-6520Ml, concerning conditions at the Shelby County Jail at 201
Poplar where Billingsley was housed when he was allegedly

assaulted. Fisher was appointed by the court as Special Master to

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investigate the status of the jail and report to the court.
Billingsley claims that Hutton and Fisher can give testimony about
matters that the jail failed to correct pursuant to court order and
which, if corrected, would have prevented this assault on him by
another inmate. The court finds that Billingsley has failed to
establish how the testimony of Hutton and Fisher would be relevant
to his lawsuit and therefore denies his request for a subpoena for
Hutton and Fisher.

As to the remainder of the witnesses associated with the claim
against the county, Billingsley's request for subpoenas is granted.
The Clerk of the Court is directed to issue the requested subpoenas
for the following witnesses located at 201 Poplar, Suite 901,
Memphis, Tennessee 38103 and deliver them to the United States
Marshal for service of process:

l. Captain Kinney

2. Supervisor Bobby Davis

3. Sgt. Redden

4. Director of Medical department Mr. Cooper

5. Dr. Stapanick of jail Medical Department

6. Nurse Jones and Nurse Driver of jail medical
7. Deputy Jailer Marcus Twilla

8. Deputy K. Scott

9. Deputy Jailer Melvin Reynolds

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II. City of Memphis Witnesses

Billingsley seeks subpoenas for eight witnesses employed by or
associated with the City of Memphis. Counsel for Memphis Police
Officer Jon Kirkland objects to the issuance of subpoenas for Lt.
C. Luhrs, Sgt. J. McClain, L.M. Charnes, and Officer Maurice Burton
on the grounds that the only testimony these witnesses would
provide would relate to the plaintiff’s allegations that the City
failed to properly investigate his complaints which allegations
have been dismissed. It appears that these witnesses do not have
first hand. knowledge of information relevant to the remaining
Eighth Amendment claim against Officer Kirkland. Therefore,
Billingsley's request for subpoenas for these witnesses is denied.

Counsel for Officer Kirkland also objects to the issuance of
subpoenas for Officer Johnny Harper and Officer William Singleton
on the grounds that they have no first-hand knowledge of
information relevant to the claims and defenses in this lawsuit.
Billingsley explains that these two persons are friends of his who
also are police officers and will testify as to the proper handling
of a gun and the department’s policy on training a weapon on
someone. Officer Kirkland's objections are overruled, and the
subpoenas will issue.

The Clerk of the Court is directed to issue the requested

subpoenas for the following witnesses located at 201 Poplar, 12th

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Floor, Memphis, Tennessee 38103 and deliver them to the United
States Marshal for service of process:
1. Captain Newt Morgan
2. Major Raymond Hopkins
3. Officer Johnny Harper
4. William Singleton
III. Personal Witnesses
Finally, Billingsley seeks subpoenas for ten witnesses he
categorizes as personal. There were no objections from the
defendants as to these witnesses. Therefore, the Clerk of the
Court is directed to issue the requested subpoenas for the
following witnesses at the addresses indicated and deliver them to
the United States Marshal for service of process:
1. Jerry Porter
1096 Olean
Memphis, TN 38104
2. Charge Nurse Ms. Owens
Regional Medical Center
877 Jefferson Ave.
Memphis, TN 38103
3. Patient Assistance Ms. Bolden
Regional Medical Center
877 Jefferson Ave.
Memphis, TN 38103
4. Dr. Dwight Dishmon
Medplex

880 Madison
Memphis, TN 38103

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5.

10.

Dr. William Dorko
Medplex

880 Madison
Memphis, TN 38103

Antonia Herron
3912 Enver St.
Memphis TN 38127

Jermaine Hampton
201 Poplar
Memphis, TN 38103

Jimmy Lawrence (aka) James Lawrence
Booking No. 01139572

2232 Pamela

Memphis, TN 38128

Gregory Westbrook
Booking No. 01136273
1241 Park Rd.
Memphis, TN 38119

Andrew Townsend
Booking No. 01140813
1201 Mary Jane
Memphis, TN 38126

Billingsley also requests that writs of

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habeas corpus ad

testificandum issue for the following three of the witnesses who

are presently incarcerated at the Shelby County Correctional

Facility:

l.

2.

3.

Jerry Porter

Jimmy Lawrence a/k/a James Lawrence

Jermaine Hampton

Billingsley's request is granted, and these writs will be issued.

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CONCLUSION
Billingsley’s request for subpoenas is granted in part and
denied in part. The clerk of the court shall issue the subpoenas
as directed herein after a final pre-trial order is entered and
only upon confirmation by Judge Breen's case manager of the trial

going forward on the date scheduled.

IT IS SO ORDERED this 23rd day of May, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 185 in
case 2:02-CV-02920 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

